875 F.2d 314Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Calvin ASH, Petitioner-Appellant,v.John WILT, Warden, Brockbridge Correctional Facility,Attorney General of the State of Maryland,Respondents-Appellees.
    No. 88-6765.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 29, 1988.Decided May 4, 1989.
    
      Calvin Ash, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Cathleen C. Brockmeyer, Office of the Attorney General, for appellees.
      Before ERVIN, Chief Judge, and MURNAGHAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Calvin Ash appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Ash v. Wilt, C/A No. 88-405-S (D.Md. July 19, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    